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                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA

                             UNDER SEAL


UNITED STATES OF AMERICA

          v.                                  22-cr-233-01 ABJ

KEEVIN M. CRONIN

               LEAVE TO FILE DOCUMENT UNDER SEAL

     Kevin Cronin, through counsel, now Moves this Honorable Court to
Permit him to file the Attached Document, DD Form 214 , UNDER SEAL as
an addendum to his Sentencing Memorandum.


                                  Respectfully submitted,
                                  ____________/s/____________
                                  H. Heather Shaner, DC #273276
                                  Appointed by the Court for
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